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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA


 UNCENSORED AMERICA,                             )
                                                 )
                   Plaintiff,                    )
                                                 )
 v.                                              )
                                                 )
 UNIVERSITY OF SOUTH                             )                     3:24-cv-05437-SAL
                                                             Case No.: _______________
 CAROLINA,                                       )
                                                 )
                  Defendant.                     )
                                                 )
                                                 )



                    PLAINTIFF’S ANSWERS TO INTERROGATORIES



(A)    State the full name, address, and telephone number of all persons or legal entities who

may have a subrogation interest in each claim and state the basis and extent of that interest.

RESPONSE: No one.

(B)    As to each claim, state whether it should be tried jury or nonjury and why.

RESPONSE: Jury.

(C)    State whether the party submitting these responses is a publicly owned company and

separately identify (1) any parent corporation and any publicly held corporation owning ten

percent (10%) or more of the party’s stock; (2) each publicly owned company of which it is a

parent; and (3) each publicly owned company in which the party owns ten percent (10%) or more

of the outstanding shares.

RESPONSE: Plaintiff is not connected to a public company.

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(D)     State the basis for asserting the claim in the division in which it was filed (or the basis of

any challenge to the appropriateness of the division). See Local Civ. Rule 3.01 (D.S.C.).

RESPONSE: Defendant is located in the division of Columbia.

(E)     Is this action related in whole or in part to any other matter filed in this district, whether

civil or criminal? If so, provide (1) a short caption and the full case number of the related action;

(2) an explanation of how the matters are related; and (3) a statement of the status of the related

action. Counsel should disclose any cases that may be related regardless of whether they are still

pending. Whether cases are related such that they should be assigned to a single judge will be

determined by the clerk of court based on a determination of whether the cases arise from the

same or identical transactions, happenings, or events; involve the identical parties or property; or

for any other reason would entail substantial duplication of labor if heard by different judges.

RESPONSE: No, not to our knowledge.

(F)     [Defendants only.] If the defendant is improperly identified, give the proper identification

and state whether counsel will accept service of an amended summons and pleading reflecting

the correct identification.

RESPONSE: Not related.

(G)     [Defendants only.] If you contend that some other person or legal entity is, in whole or in

part, liable to you or the party asserting a claim against you in this matter, identify such person or

entity and describe the basis of their liability.

RESPONSE: Not related.




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(H)    Parties or Intervenors in a Diversity Case. In an action in which jurisdiction is based on

diversity under 28 U.S.C. § 1332(a), a party or intervenor must, unless the court orders

otherwise, name – and identify the citizenship of – every individual or entity whose citizenship is

attributed to that party or intervenor. This response must be supplemented when any later event

occurs that could affect the court’s jurisdiction under § 1332(a).

RESPONSE: Not related to this action.



                                                    Respectfully submitted,
                                                    WINSLOW LAW, LLC


                                                    /s/ Thomas W. Winslow______
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September 27, 2024
Pawleys Island, South Carolina




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